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1
     Stephen M. Doniger (SBN 179314)
     stephen@donigerlawfirm.com
2    Scott A. Burroughs (SBN 235718)
3
     scott@donigerlawfirm.com
     Elina E. Kharit (SBN 261029)
4    ekharit@donigerlawfirm.com
5
     DONIGER/BURROUGHS
     603 Rose Avenue
6    Venice California 90291
7
     Telephone: (310) 590-1820

8    Attorneys for Plaintiff
9

10
                           UNITED STATES DISTRICT COURT

11
                         CENTRAL DISTRICT OF CALIFORNIA

12   ALEX MAXIM, an individual,                 Case No.:
13                                              COMPLAINT FOR:
     Plaintiff,                                      1. COPYRIGHT INFRINGEMENT
14
                                                     2. VICARIOUS AND/OR
15   v.
                                                        CONTRIBUTORY COPYRIGHT
16                                                      INFRINGEMENT
     NETEASE, INC., a Cayman Islands
17   Corporation; GUANGZHOU NETEASE
                                                    Jury Trial Demanded
     COMPUTER SYSTEM CO., LTD., a
18
     People’s Republic of China Limited
19   Company; and DOES 1 through 10,
20
     Defendants.
21

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23          ALEX MAXIM, by and through his undersigned attorneys, hereby prays to
24   this honorable Court for relief based on the following:
25                             JURISDICTION AND VENUE
26          1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
27   seq.
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                                            COMPLAINT
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1          2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
2    (a) and (b).
3          3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a)
4    in that this is the judicial district in which a substantial part of the acts and omissions
5    giving rise to the claims occurred. It is also proper under Fed. R. Civ. P. 4(k)(2) since
6    this claim arises under federal law, Defendant NETEASE, INC. appears to not be
7    subject to jurisdiction in any state’s courts of general jurisdiction, and exercising
8    jurisdiction is consistent with the United States Constitution and laws.
9                                           PARTIES
10         4. Plaintiff ALEX MAXIM (“MAXIM”) is an individual residing in Nanaimo,
11   British Colombia.
12         5. Plaintiff is informed and believes and thereon alleges that Defendant
13   NETEASE, INC. (“NETEASE”) is a corporation organized and existing under the
14   laws of the Cayman Islands, with its principal place of business at 26F SP Tower D,
15   Tsinghua Science Park, Building 8, No. 1 Zhongguancun East Road, Haidian
16   District, Beijing, People’s Republic of China, 100084. NetEase is registered to do
17   business in the State of Delaware under its former English name, NetEase.com
18   (U.S.) Inc.
19         6. Plaintiff is informed and believes and thereon alleges that Defendant
20   GUANGZHOU NETEASE COMPUTER SYSTEM CO., LTD (“GUANGZHOU”)
21   is a limited company organized and existing under the laws of the People’s Republic
22   of China, with its principal place of business located at Unit 01, F2, Building A2, 5
23   Siyun Road, Tianhe District, Guangzhou, Guangdong Province, 510663 China; and
24   is regularly doing business in and with the United States, including the state of
25   California.
26         7. Plaintiff is informed and believes and thereon alleges that NETEASE and
27   GUANGZHOU share common ownership through William Lei Ding who is the
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                                             COMPLAINT
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1    founder of NETEASE, its current Chief Executive Officer and director, and is its
2    current majority owner. The NETEASE Form 20-F “Annual Report Pursuant to
3    Section 13 or 15(d) of the Securities Exchange Act of 1934” filed with the United
4    States Securities and Exchange Commission on April 29, 2020, states that Ding
5    owns approximately 45.1% of NETEASE’s outstanding ordinary shares and is its
6    largest shareholder.
7          8. Plaintiff is informed and believes and thereon alleges that NETEASE
8    wholly owns GUANGZHOU. According to NETEASE Form 20-F “Annual Report
9    Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934” filed with
10   the United States Securities and Exchange Commission on April 29, 2020, in
11   footnote 2 on page 45 provides “Guangzhou NetEase Computer System Co., Ltd
12   […] is 99.0% owned by William Lei Ding, our founder, Chief Executive Officer and
13   director, and 1.0% by two of our employees, respectively.”
14         9. Plaintiff is informed and believes and thereon alleges that Defendant
15   NETEASE has been listed on the NASDAQ Global Select Market since June 30,
16   2000, under the ticker symbol “NTES,” and regularly files reports with the United
17   States Securities and Exchange Commission. Upon information and belief,
18   Defendant NETEASE maintains an Investor Relations contact in New York, New
19   York, in the United States.
20         10. NETEASE and GUANGZHOU collectively own and control the websites
21   at http://163.com, http://netease.com, and http://lofter.com (collectively, the
22   “NETEASE WEBSITES”). Indeed, the investor relations page of netease.com
23   (http://ir.netease.com/static-files/09271512-fd28-48d0-8c96-330626487a19) links to
24   its United States SEC Form 6-K filing which explains that “NetEase, Inc.
25   (NASDAQ: NTES) is a leading internet technology company in China” and to its Q4
26   2019 Investor Presentation which promotes that “163.com is one of China’s most
27   visited internet portals.”
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                                            COMPLAINT
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1         11. The NETEASE “Registration of securities of foreign private issuers
2    pursuant to section 12(b) or (g)” filed on June 27, 2003 explains that “[w]e have full
3    legal rights over and have registered the following domain names with Network
4    Solutions, Inc.: www.netease.com; www.163.com” and explains that “[w]e license
5    and optimize StoryServer from Vignette Corporation to provide efficient and
6    responsive management of the content on www.163.com, the main homepage of the
7    NetEase Web sites.” Vignette was a content management company based in Austin,
8    Texas that closed in 2009. Thus, it is clear that since 2003 NetEase has contracted
9    with United States-based companies to manage the content for the NETEASE
10   WEBSITES.
11        12. In public filings NETEASE has admitted: “Under the NetEase and 163.com
12   brands, we provide various free services, including Chinese language-based e-mail,
13   online chat rooms and discussion forums,” and that “[t]he main homepage of the
14   NetEase Web sites, www.163.com, provides a destination for Chinese Internet
15   users.”
16        13. In its April 20, 2018 SEC filings, NETEASE explains that “In addition, the
17   main homepage of the NetEase websites, www.163.com, serves as a one-stop
18   gateway for users to conveniently access our other online services, such as online
19   games, e-mail, e-commerce, video and music streaming, e-reading and a set of other
20   websites and mobile applications.”
21        14. NETEASE has made clear in its public filings that its 163.com website is
22   central to its business, stating: “Our ability to successfully promote and monetize our
23   online games will depend on our ability to adopt and effectively implement
24   innovative marketing strategies, and particularly marketing through online media
25   such as our 163.com website, social media sites, game live streaming sites and other
26   online game forums.”
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1          15. The NETEASE “Report of foreign issuer rules 13a-16 and 15d-16 of the
2    Securities Exchange Act” filed on August 3, 2007 provides: “NetEase.com, Inc.
3    would like to inform you that its 2006 Annual Report will be available for viewing
4    on its website at http://corp.163.com under the heading ‘Investor Info’.” That page
5    now forwards to ir.netease.com, NETEASE’s public investor relations page.
6          16. NETEASE has entered into a “domain name license agreement” with
7    GUANGZHOU whereby GUANGZHOU has agreed to pay approximately $1,500
8    per year to NETEASE in exchange for an illusory license that permits NETEASE
9    attempt to disclaim liability for the NETEASE WEBSITES, according to the
10   NETEASE “Report of foreign issuer rules 13a-16 and 15d-16 of the Securities
11   Exchange Act” filed on May 6, 2003.
12         17. GUANGZHOU has registered for DMCA protection (see
13   https://dmca.copyright.gov/osp/publish/history.html?search=Netease&id=8cd220682
14   8a04d926df7d2454e773e0f).
15         18. Plaintiff is informed and believes that NETEASE is the parent of its wholly
16   owned subsidiary NetEase Information Technology Corporation (“NETEASE IT”), a
17   California corporation with its principal place of business at 200 Sierra Point
18   Parkway, Ste 800, Brisbane, California 94005. NETEASE IT provides “market
19   research and information collection” for NETEASE, which includes finding and
20   providing content to NETEASE, and is believed to have worked with NETEASE
21   with regard to the infringements at issue in this action.
22         19. NETEASE generates substantial revenues from viewership http://163.com
23   and http://netease.com and by residents of the United States—indeed, in the past 3
24   months of September to November 2019 alone there were approximately 1.82
25   million visits to http://163.com from computers in the United States. The NETEASE
26   WEBSITES are websites that derive revenue in large part from advertising.
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                                            COMPLAINT
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1          20. The images on http://163.com, including the infringing images at issue in
2    this case, are made available to United States viewers, including in this judicial
3    district, through servers in the United States pursuant to an agreement between
4    NETEASE and California-based Quantil Networks’ delivery network
5    (www.quantil.com).
6          21. Plaintiff is informed and believes and thereon alleges that Defendant
7    NETEASE has been listed on the NASDAQ Global Select Market since June 30,
8    2000, under the ticker symbol “NTES,” and regularly files reports with the United
9    States Securities and Exchange Commission. Upon information and belief,
10   Defendant NETEASE maintains an Investor Relations contact in New York, New
11   York, in the United States.
12         22. Plaintiff is informed and believes and thereon alleges that Defendants
13   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
14   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
15   or have engaged in one or more of the wrongful practices alleged herein. The true
16   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
17   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
18   by such fictitious names, and will seek leave to amend this Complaint to show their
19   true names and capacities when same have been ascertained.
20         23. Plaintiff is informed and believes and thereon alleges that at all times
21   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
22   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
23   at all times acting within the scope of such agency, affiliation, alter-ego relationship
24   and/or employment; and actively participated in or subsequently ratified and/or
25   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
26   circumstances, including, but not limited to, full knowledge of each violation of
27   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
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                                            COMPLAINT
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1                 CLAIMS RELATED TO SUBJECT PHOTOGRAPHS
2         24. MAXIM is a professional commercial, fashion and fine art photographer.
3    Formerly Oleksiy Maksymenko, MAXIM changed his name after immigrating to
4    Canada from his native Ukraine.
5         25. MAXIM owns thirty-seven (37) original photographs of various subjects
6    (collectively, the “Subject Photographs”) that were registered with the United States
7    Copyright Office. Images of the Subject Photographs and their corresponding
8    Copyright Registration information is attached hereto as Exhibit A. Plaintiff is the
9    sole owner of the exclusive rights in the Subject Photographs.
10        26. The Subject Photographs have been misappropriated and published
11   without permission (or payment of a licensing fee) by the for-profit website
12   http://163.com and https://netease.com. Defendants misappropriated, distributed, and
13   published the Subject Photographs on the NETEASE WEBSITES and associated
14   platforms, and did so without seeking authorization from, or even notifying,
15   MAXIM. This is copyright infringement. Screen captures of the infringing use on
16   the website http://163.com and affiliated websites are attached hereto as Exhibit B.
17        27. Plaintiff is informed and believes and thereon alleges that NETEASE
18   accessed the Subject Photographs with the assistance of its California subsidiary
19   NETEASE IT via an online search-and-copy campaign and then in or around April
20   of 2017, the NETEASE WEBSITES published the Subject Photographs without the
21   photographers’ consent (“Subject Posts”).
22        28. NETEASE purposefully directed activities towards the United States
23   market by, inter alia, setting up wholly-owned California subsidiary, setting up
24   investor relations contacts in New York and placing itself on a New York-based
25   exchange, and contracting with California-based Quantil Networks to deliver content
26   to the sizeable market of Chinese-speaking viewers in the United States through a
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                                           COMPLAINT
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1    system of servers located throughout the United States—the very activities out of
2    which claims at issue arise.
3                               FIRST CLAIM FOR RELIEF
4              (For Copyright Infringement - Against All Defendants, and Each)
5         29. Plaintiff repeats, re-alleges and incorporates herein by reference as though
6    fully set forth the allegations contained in the preceding paragraphs of this
7    Complaint.
8         30. Plaintiff is informed and believes and thereon alleges that Defendants, and
9    each of them, infringed Plaintiff’s copyrights by creating an infringing and/or
10   derivative work from the Subject Photographs and by publishing the work which
11   infringes the Subject Photographs to the public, including without limitation, on and
12   through its website(s).
13        31. Plaintiff is informed and believes and thereon alleges that Defendants, and
14   each of them, infringed Plaintiff’s rights by copying the Subject Photographs without
15   Plaintiff’s authorization or consent, creating an unlawful derivative work from the
16   Subject Photographs, and removing any attribution to Plaintiff from the Subject
17   Photographs.
18        32. Plaintiff is informed and believes and thereon alleges that Defendants, and
19   each of them, had access to the Subject Photographs, including, without limitation,
20   through viewing the Subject Photographs on Plaintiff’s website, publications,
21   profiles, exhibitions and/or through other authorized channels, over the internet,
22   including without limitation as accessed via a search engine, or through a third-party
23   source.
24        33. Plaintiff is further informed and believes and thereon alleges that certain
25   Defendants have an ongoing business relationship with one or more of the other
26   Defendants, and that those defendants transacted in order to traffic in the Accused
27   Image.
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                                            COMPLAINT
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1          34. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
2    suffered general and special damages in an amount to be established at trial.
3          35. Due to Defendants’ acts of copyright infringement as alleged herein,
4    Defendants, and each of them, have obtained direct and indirect profits they would
5    not otherwise have realized but for their infringement of Plaintiff’s rights in the
6    Subject Photographs. As such, Plaintiff is entitled to disgorgement of Defendants’
7    profits directly and indirectly attributable to Defendants’ infringement of its rights in
8    the Subject Photographs in an amount to be established at trial.
9          36. Plaintiff is informed and believes and thereon alleges that Defendants, and
10   each of them, have committed acts of copyright infringement, as alleged above,
11   which were willful, intentional and malicious, which further subjects Defendants,
12   and each of them, to liability for statutory damages under Section 504(c)(2) of the
13   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
14   per infringement. Within the time permitted by law, Plaintiff will make its election
15   between actual damages and statutory damages.
16                            SECOND CLAIM FOR RELIEF
17   (For Vicarious and/or Contributory Copyright Infringement – Against all Defendants,
18                                          and Each)
19         37. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
20   fully set forth, the allegations contained in the preceding paragraphs of this
21   Complaint.
22         38. Plaintiff is informed that Defendant NETEASE claims that the NETEASE
23   WEBSITES are not directly owned by, registered to, or administered by NETEASE,
24   and claims that the websites http://163.com and http://netease.com are registered to
25   Guangzhou NetEase Computer System Co., Ltd., a Chinese company located in
26   Guangdong, China, and http://lofter.com is registered to Hangzhou Yaolu
27   Technology Co., Ltd., a Chinese company located in Hangzhou, China.
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                                            COMPLAINT
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1           39. Plaintiff is informed and believes and thereon alleges that Guangzhou
2     NetEase Computer System Co. Ltd. is an Internet service provider (“ISP”) which is
3     either a subsidiary or affiliate of Defendant NETEASE and is used by NETEASE as
4     a data center, for web hosting and for transit of information and content for the
5     websites http://163.com and http://netease.com.
6           40. Plaintiff is informed and believes and thereon alleges that Hangzhou
7     Yaolu Technology Co., Ltd is an ISP which is used by Defendant NETEASE as a
8     data center, for web hosting and for transit of information and content for the website
9     http://lofter.com.
10          41. Plaintiff is informed and believes and thereon alleges that the images on
11    http://163.com, http://netease.com, and http://www.lofter.com, including the
12    infringing images at issue in this case, are hosted by the above named ISP data
13    centers and transmitted by these ISPs to servers in the United States through an
14    agreement between Defendant NETEASE and Quantil Networks’ delivery network
15    (“Quantil”), making the infringing images at issue in this case available to viewers in
16    the United States, including in New York, New York.
17          42. Plaintiff is informed and believes and thereon alleges that Defendant
18    NETEASE, through its agreements with the above-named ISPs and with Quantil,
19    knowingly induced, participated in, aided and abetted in and profited from the illegal
20    reproduction and distribution of the Subject Photographs as alleged hereinabove.
21          43. Plaintiff is informed and believes and thereon alleges that Defendant
22    NETEASE, through its agreements with the above named ISPs and with Quantil,
23    knowingly induced, participated in, aided and abetted in and profited from the illegal
24    reproduction publication, and distribution of the Subject Photographs as alleged
25    hereinabove.
26          44. Plaintiff is informed and believes and thereon alleges that NETEASE had
27    the right and ability to supervise the infringing conduct and had a direct financial
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                                             COMPLAINT
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1     interest in the infringing conduct. Specifically, it had the ability to oversee the
2     development, publication, and distribution of the infringing imagery at issue and
3     realized profits through the distribution and publication of the Subject Photographs.
4           45. By reason of the Defendants’ acts of contributory and vicarious
5     infringement as alleged above, Plaintiff has suffered and will continue to suffer
6     substantial damages to his business in an amount to be established at trial, as well as
7     additional general and special damages in an amount to be established at trial.
8           46. Due to Defendants’ acts of copyright infringement as alleged herein,
9     Defendants, and each of them, have obtained direct and indirect profits they would
10    not otherwise have realized but for their infringement of Plaintiff’s rights in the
11    Subject Photographs. As such, Plaintiff is entitled to disgorgement of Defendants’
12    profits directly and indirectly attributable to Defendants’ infringement of its rights in
13    the Subject Photographs, in an amount to be established at trial.
14          47. Plaintiff is informed and believes and thereon alleges that Defendants, and
15    each of them, have committed acts of copyright infringement, as alleged above,
16    which were willful, intentional and malicious, which further subjects Defendants,
17    and each of them, to liability for statutory damages under Section 504(c)(2) of the
18    Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
19    per infringement, in addition to claims for costs and attorneys’ fees. Within the time
20    permitted by law, Plaintiff will make its election between actual damages and
21    statutory damages.
22                                   PRAYER FOR RELIEF
23          Wherefore, Plaintiff prays for judgment as follows against all Defendants and
24   with respect to each claim for relief:
25             a. That Defendants, their affiliates, agents, and employees be enjoined
26                from infringing Plaintiff’s copyright in and to the Subject Photographs;
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                                              COMPLAINT
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1             b. That Plaintiff be awarded all profits of Defendants, and each of them,
2                plus all losses of Plaintiff, plus any other monetary advantage gained by
3                the Defendants through their infringement, the exact sum to be proven at
4                the time of trial, or, if elected before final judgment, statutory damages
5                to the extent they are available under the Copyright Act, 17 U.S.C. § 101
6                et seq.;
7             c. That Plaintiff be awarded its costs and attorneys’ fees to the extent they
8                are available under the Copyright Act U.S.C. § 101 et seq.;
9             d. That a trust be entered over the Subject Photographs, and all profits
10               realized through the infringement;
11            e. That Plaintiff be awarded pre-judgment interest as allowed by law;
12            f. That Plaintiff be awarded the costs of this action; and
13            g. That Plaintiff be awarded such further legal and equitable relief as the
14               Court deems proper.
15         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
16   38 and the 7th Amendment to the United States Constitution.
17
     Dated: December 16, 2020                        DONIGER/BURROUGHS
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19
                                            By:      /s/ Stephen M. Doniger
                                                     Stephen M. Doniger, Esq.
20                                                   Elina E. Kharit, Esq.
21
                                                     Attorneys for Plaintiff

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                                            COMPLAINT
